             Case 1:18-cr-00172-SM Document 16 Filed 03/11/19 Page 1 of 6




Acknowledgment and Waiver of Rights                                                                                    rhi




                              UNITED STATES DISTRICT COURT                                      im HAR i I P 2= 51
                                     District of New Hampshire
       UNITED STATES OF AMERICA


                         V.                                       ACKNOWLEDGMENT AND
                                                                    WAIVER OF RIGHTS
             JESSICA TEIXEIRA

                                                           Case Number; 1:18-cr-172-SM
                     Defendant

        I,        Jessica Teixeira                         hereinafter the defendant, do hereby freely and
voluntarily make the following statements that I understand shall apply to each and every offense to which I intend
to plead GUILTY.

        I understand that I am under no obligation to plead GUILTY, and that even after signing this form I am still
under no obligation to plead GUILTY. I understand that I do not have a negotiated plea agreement with the
government and that the Judge can impose any sentence authorized by law for the offense to which I am
pleading GUILTY.

        I have discussed the present plea of GUILTY with my attorney,      Jeffrey S. Levin, AFPD
Esquire, who has explained the nature and elements of the offense(s)to me, which I fully understand. The
offense(s) to which I am pleading GUILTY, the statutory reference, the elements of the offense(s),(all of which
the government would have to prove beyond a reasonable doubt), and the possible penalties for the offense(s),
are as follows:

1. Statute and the Elements of the Offense.

        The defendant is pleading guilty to the following statutes. The defendant acknowledges, understands and
agrees that if this case proceeded to trial, the United States would be required to prove the following elements
beyond a reasonable doubt:
                                 [Title and Text of Offense and Statutory Citation]

I. Title of Offense Charoed/Statutorv Citation: Wire Fraud, 18 U.S.C. sec. 1343
Elements of the Offense Charged: See attached




II. Title of Offense Charged/Statutory Citation: Money Laundering, 18 U.S.C. sec. 1957

Elements of the Offense Charoed: See attached




USDCNH-88 (11-16)
                                                 Page 1
             Case 1:18-cr-00172-SM Document 16 Filed 03/11/19 Page 2 of 6


Acknowledgment and Waiver of Rights


III. Title of Offense Charged/Statutory Citation: n/a

Elements of the Offense Charoed: jVa




*Please provide the above requested information on a separate attachment if the defendant is pleading to more
than 3 offenses.

2. Penalties.

        The defendant also acknowledges, understands and agrees that the maximum penalties for the
offense(s) are:
                                       20 years on Count 1,10 years on Count 2
        A.        A maximum prison term of _a        years and a mandatory minimum sentence of _0.years;
        B.        A maximum fine of$ 250,000.00            (18 U.S.C. §3571)and an additional fine to pay the costs
                  of any imprisonment, probation or supervised release ordered (U.S.S.G.§ 5E1.1(I));

        C.        A mandatory special assessment of $100.00 [for each count of conviction] which the defendant
                  agrees to pay at or before the time of sentencing; and

        D.        A term of supervised release of not more than three years
                                                        years. The defendant understands that the defendant's
                  failure to comply with any of the conditions of supervised release may result in revocation of
                  supervised release, requiring the defendant to serve in prison all or part of the term of supervised
                  release, with no credit for time already spent on supervised release(18 U.S.C. §3583).

        E.        The defendant also acknowledges, understands and agrees that, in addition to the other penalties
                  provided by law, the Court may order the defendant to pay restitution to the victim of the offense,
                  pursuant to 18 U.S.C. §3663.

3. Waiver of Trial Rights and Consequences of Plea.

        The defendant acknowledges, understands and agrees that he/she has the right to be represented by an
attorney at every stage of the proceeding and, if necessary, one will be appointed to represent the defendant.

        The defendant also acknowledges, understands and agrees that he/she has the right:

        A.        to plead not guilty or to maintain that plea if it has already been made;

        B.        to be tried by a jury and, at that trial, the right to the assistance of counsel;

        C.        to confront and cross-examine witnesses against him/her;

        D.         not to be compelled to provide testimony that may incriminate the defendant; and

        E.        the right to compulsory process for the attendance of witnesses to testify in the defendant's
                   defense.

       The defendant acknowledges, understands and agrees that by pleading guilty he/she waives and gives
up those rights and that if a plea of guilty is accepted by the Court, there will not be a further trial of any kind.



USDCNH-88 (1-16)
                                                     Page 2
              Case 1:18-cr-00172-SM Document 16 Filed 03/11/19 Page 3 of 6


Acknowledgment and Waiver of Rights


        The defendant acknowledges, understands and agrees that if he/she pleads guilty, the Court may ask
him/her questions about the offense, and if the defendant answers those questions falsely under oath, on the
record, and in the presence of counsel, the defendant's answers may later be used against the defendant in a
prosecution for perjury or making false statements.

4. Sentencing and Application of the Sentencing Guidelines.

        The defendant also acknowledges, understands and agrees that:

        A.       the Sentencing Reform Act of 1984 applies in this case;

        B.       the Court is required to consider the Sentencing Guidelines as advisory guidelines and may
                 depart or deviate from those Guidelines under some circumstances: and

        C.       he/she has no right to withdraw his/her guilty plea if his/her sentence is other than he/she
                 anticipated.

        The defendant also acknowledges, understands and agrees that the United States and the United States
Probation Office will:

        A.       advise the Court of any additional, relevant facts that are presently known or may subsequently
                 come to their attention;

        B.       respond to questions from the Court;

        C.       correct any inaccuracies in the pre-sentence report;

        D.       respond to any statements made by the defendant or the defendant's counsel to a probation
                 officer or to the Court; and

        E.       may address the Court with respect to an appropriate sentence to be imposed in this case.

       The defendant acknowledges, understands and agrees that any estimate of the probable sentence, or the
probable sentencing range that he/she may have received from any source, is only a prediction and not a
promise, and is not binding on the United States, the Probation Office, or the Court.

5. Acceptance of Responsibility.

         The defendant aiso acknowledges, understands and agrees that he/she may be entitled to a reduction in
his/her sentence based upon his/her prompt recognition and affirmative acceptance of responsibility for the
offense(s).

        The defendant also acknowledges, understands and agrees, however, that the United States may oppose
such a reduction to the defendant's sentence if the defendant:

        A.       fails to admit a complete factual basis for the plea at the time the defendant is sentenced or at
                 any other time;

        B.       challenges the United States's offer of proof at any time after the plea is entered;

        C.       denies involvement in the offense;

        D.       gives conflicting statements about that involvement or is untruthful with the Court, the United
                 States or probation officer;

        E.       fails to give complete and accurate information about the defendant's financial status to the
USDCNH-88 (1-16)
                                                  Page 3
             Case 1:18-cr-00172-SM Document 16 Filed 03/11/19 Page 4 of 6


Acknowledgment and Waiver of Rights


                Probation Office;

        F.      obstructs or attempts to obstruct justice, prior to sentencing;

        G.      fails to appear in court as required;

        H.      attempts to withdraw the plea of guilty.

        The defendant also acknowledges, understands and agrees that the Court is under no obligation to
reduce the defendant's sentence if the Court finds that the defendant has not accepted responsibility.

6. Acknowledgment of Guilt: Voluntariness of Plea.

         The defendant acknowledges, understands agrees that he/she is pleading guilty freely and voluntarily
because he/she is guilty. The defendant further acknowledges, understands and agrees that he/she is pleading
guilty without reliance upon any discussions between the United States and the defendant, without promise of
benefit of any kind, and without threats, force, intimidation, or coercion of any kind.

        The defendant further acknowledges his/her understanding of the nature of the offense(s)to which he/she
is pleading guilty, including the penalties provided by law.

        The defendant also acknowledges his/her complete satisfaction with the representation and advice
received from his/her undersigned attorney.

                                      Acknowledgment of Defendant

         I am pleading GUILTY because I am GUILTY. I understand the nature of the offense(s) to which I am
pleading GUILTY and the penalties provided by law. I further understand the entire content of this form and I sign
this form and enter my plea of GUILTY freely and voluntarily. I am not under the influence of drugs or alcohol. I
acknowledge that all of the statements provided herein are true and volunt^ily given.

Date:
                                                  SinnatDre of Defendant


                               Acknowledgment of Defendant's Counsel
         As counsel for the defendant, I have thoroughly explained to the defendant all the above, including the
nature of the charge(s), the elements of the offense that the government must prove beyond a reasonable doubt,
and the maximum and minimum penalties. I believe the defendant fully understands the meaning of this
Acknowledgment of Rights, that s/he is not under the influence of drugs or alcohol, and that s/he knowingly,
intelligently and voluntarily waives all of her/his rights as set forth in this foe


Date:   3.1 n 1              °|                    As   C^HB^^erthe
cc: Defendant
    U.S. Attorney
    U.S. Marshal
    U.S. Probation
    Defense Counsel



USDCNH-88 (11-16)
                                                   Page 4
       Case 1:18-cr-00172-SM Document 16 Filed 03/11/19 Page 5 of 6




          UNITED STATES OF AMERICA v. JESSICA TEIXEIRA

                             No. l:18-cr-172-SM

                      Statutes and Elements of Offenses

Count 1: Wire Fraud. 18 U.S.C. S 1343

      As to Count 1, charging Wire Fraud, Title 18, United States Code,
Section 1343 provides, in pertinent part:
      Whoever, having devised or intending to devise any scheme or artifice to
      defraud, orfor obtaining money or property by means offalse or
     fraudulentpretenses, representations, or promises, transmits or causes to
      be transmitted by means of wire... communication in interstate orforeign
     commerce, any writings, signs, signals,pictures, or soundsfor the purpose
      ofexecuting such scheme or artifice, shall befined under this title or
     imprisoned not more than 20 years, or both.
      The defendant understands that the offense has the following elements,
each of which the United States would be required to prove beyond a
reasonable doubt at trial:

      First, that there was a scheme,substantially as charged in the
indictment, to defraud or to obtain money or property by means of false or
fraudulent pretenses;
     Second, that the scheme to defraud involved the misrepresentation or
concealment of a material fact or matter, or the scheme to obtain money or
property by means of false or fraudulent pretenses involved a false statement,
assertion, half-truth or knowing concealment concerning a material fact or
matter;

      Third, that the defendant knowingly and willfully participated in this
scheme with the intent to defraud; and

       Fourth, that for the purpose of executing the scheme or in furtherance
of the scheme, the defendant caused an interstate wire communication to be
used, or it was reasonably foreseeable that for the purpose of executing the
scheme or in furtherance of the scheme,an interstate wire communication
would be used, on or about the date alleged.
       Case 1:18-cr-00172-SM Document 16 Filed 03/11/19 Page 6 of 6




Count 2; Money Laundering, 18 U.S.C.$ 1957

      As to Count 2, charging Money Laundering, Title 18, United States
Code,Section 1957 provides, in pertinent part:
      Whoever,[in the United States], knowingly engages or attempts to engage
      in a monetary transaction in criminally derived property ofa value greater
      than $10,000 and is derivedfrom specified unlawful activity, shall be
      punished
      The defendant understands that the offense has the following elements,
each of which the United States would be required to prove beyond a
reasonable doubt at trial:

      First, that defendant deposited, withdrew,or exchanged funds over
$10,000 in a financial institution affecting interstate commerce on the date
specifled;
      Second, she knew that the money came from some kind of criminal
offense;

      Third, the money was in fact criminally derived from specified unlawfnl
activity; and

      Fourth, the specified unlawfnl activity took place in the United States.
